         Case 1:21-cr-00028-APM Document 144 Filed 04/07/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
      v.                                  )                 Criminal No. 21-28-8 (APM)
                                          )
KELLY MEGGS,                              )
                                          )
      Defendant.                          )
_________________________________________ )

                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                 Criminal No. 21-28-9 (APM)
                                          )
CONNIE MEGGS,                             )
                                          )
      Defendant.                          )
_________________________________________ )


                                            ORDER

       The court hereby appoints Thomas B. Mason and Thomas G. Connolly of Harris, Wiltshire

& Grannis LLP to serve as conflicts counsel in this matter to advise Defendants Kelly Meggs and

Connie Meggs concerning the potential conflicts of interest arising from their joint representation

by the same counsel, David A. Wilson. See generally Cuyler v. Sullivan, 446 U.S. 335 (1980);

United States v. Bikundi, 80 F. Supp. 3d 9, 18–19 (D.D.C. 2015) (identifying potential conflicts

arising from joint representation).   The court hereby directs both government counsel and

Mr. Wilson to cooperate with conflicts counsel to provide the information they require to assess
         Case 1:21-cr-00028-APM Document 144 Filed 04/07/21 Page 2 of 2




the potential conflicts posed by joint representation. Conflicts counsel shall update the court no

later than April 21, 2021, as to their progress in advising Mr. and Ms. Meggs.




Dated: April 7, 2021                                       Amit P. Mehta
                                                    United States District Court Judge




                                                2
